On January 5, 1993, appellee, Mark A. King, pleaded guilty to two counts of attempted rape, in violation of R.C. 2923.02
and 2907.02, and one count of gross sexual imposition, in violation of R.C. 2907.05. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of three to fifteen years for each count of attempted rape, and one year of definite incarceration for the count of gross sexual imposition, each sentence to run concurrently. In April of 1997, the Department of Corrections recommended that appellee be adjudicated a sexual predator under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual proceedings is hereby affirmed on alternative grounds.
                                     _______________________ JUDGE ROBERT A. NADER
FORD, P.J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.